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VAN−064 Order to Show Cause − Rev. 09/17/2018

                             UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF NORTH CAROLINA
                                                  Wilmington Division

IN RE:
Marian Dubar                                               CASE NO.: 19−02314−5−SWH
( debtor has no known aliases )
24214 Andrew Jackson Hwy E                                 DATE FILED: May 21, 2019
Bolton, NC 28423
                                                           CHAPTER: 13




                                                ORDER TO SHOW CAUSE

IT IS ORDERED that Marian Dubar appear at the time and place indicated below to show cause, if any
there be, as to why this case should not be dismissed or other sanctions imposed for failure to:

Sign Statement of Current Monthly Income and Statement of Social Security Number, Failure to File
Electronic Noticing Request and Proof of Identity

DATE:          Thursday, June 13, 2019
TIME:          10:00 AM
PLACE:         Room 208, 300 Fayetteville Street, Raleigh, NC 27602


DATED: June 5, 2019

                                                               Stephani W. Humrickhouse
                                                               United States Bankruptcy Judge
